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        EXHIBIT 28
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                                                   April 7, 2023

Mr. Matthew B. Colangelo
Senior Counsel
New York County District Attorney’s Office
One Hogan Place
New York, NY 10013

Dear Mr. Colangelo:

        The Committee on the Judiciary is conducting oversight of the New York County District
Attorney’s unprecedented indictment of a former President of the United States and current
declared candidate for that office.1 According to news reports, District Attorney Alvin Bragg
hired you in December 2022 to “jump-start” his office’s investigation of President Trump,
reportedly due to your “history of taking on Donald J. Trump and his family business.”2 You had
previously served in senior positions in the U.S. Department of Justice and the New York
Attorney General’s Office, both of which had competing investigations related to President
Trump.3 Given your history of working for law-enforcement entities that are pursuing President
Trump and the public reporting surrounding your decision to work for the New York County
District Attorney’s Office, we request your cooperation with our oversight in your personal
capacity.

        The Supreme Court has recognized that Congress has a “broad and indispensable” power
to conduct oversight, which “encompasses inquiries into the administration of existing laws,
studies of proposed laws, and surveys in our social, economic or political system for the purpose
of enabling Congress to remedy them.”4 Rule X of the Rules of the House of Representatives
authorizes the Committee on the Judiciary to conduct oversight of criminal justice matters to
inform potential legislation.5 Congress has a specific and manifestly important interest in
preventing politically motivated prosecutions of current and former Presidents by elected state

1
  See, e.g., Letter from Rep. Jim Jordan, H. Comm. on the Judiciary, et al., to Mr. Alvin L. Bragg, Jr., N.Y. Co.
District Att’y (Mar. 25, 2023).
2
  Jonah E. Bronwich, Manhattan D.A. hires ex-Justice official to help lead Trump inquiry, N.Y. TIMES (Dec. 5,
2022).
3
  Id.
4
  See, e.g., Trump v. Mazars LLP, No. 19-715 at 11 (U.S. slip op. July 9, 2020) (internal quotation marks and
citations omitted).
5
  Rules of the U.S. House of Representatives, R. X(l)(5) (2023).
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and local prosecutors, particularly in jurisdictions—like New York County—where the
prosecutor is popularly elected and trial-level judges lack life tenure. Among other things, if state
or local prosecutors are able to engage in politically motivated prosecutions of Presidents of the
United States (current or former) for personal acts, this could have a profound impact on how
Presidents choose to exercise their powers while in office. For example, a President could choose
to avoid taking action he believes to be in the national interest because it would negatively
impact New York City for fear that he would be subject to a retaliatory prosecution in New York
City.

        As a result, the New York County District Attorney’s unprecedented prosecutorial
conduct—occurring after federal authorities declined to pursue similar criminal charges—
requires oversight to inform the consideration of potential legislative reforms. These potential
legislative reforms may include, among other things, the following topics:

        •   The New York County District Attorney’s prosecutorial conduct raises the prospect
            of a need to insulate current and former presidents from politically motivated state
            and local prosecutions. For example, the Committee may consider legislation to
            broaden the existing statutory right of removal of certain criminal cases from state
            court to federal court.

        •   Local prosecution of a former President also raises the potential for conflict between
            the federal law-enforcement officials required by federal law to protect a former
            President and local law-enforcement officials required to enforce an indictment and
            exercise control of him throughout his presence in the local criminal justice system.
            The Committee may consider legislative reforms to address or remedy this potential
            conflict.

        •   District Attorney Bragg has stated that his prosecution of President Trump relies, at
            least in part, if not entirely, on a federal campaign finance violation to upgrade the
            charges to a felony.6 In light of this fact, to bring uniformity to the law and prevent
            future attempts by state or local prosecutors to pursue politically motivated
            prosecutions related to campaign finance regulations applicable to federal elections,
            Congress may consider the need for legislation that clarifies and/or broadens the
            preemption provision in the Federal Election Campaign Act. This reform could have
            the effect of more clearly delineating the prosecutorial authorities of federal and local
            officials in this area and thus blocking attempts by state and local prosecutors to
            selectively enforce campaign finance restrictions pertaining to federal elections in a
            politicized manner.

        •   The New York County District Attorney’s Office has acknowledged that it used
            federal forfeiture funds in its investigations of President Trump, including during the


6
 Jack Morphet & Olivia Land, DA Alvin Bragg justifies Trump charges: ‘Everyone stands equal before the law,’
N.Y. POST (Apr. 4, 2023).
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             time when President Trump was in office and a candidate for re-election.7 The
             Committee may therefore consider legislation to enhance reporting requirements
             concerning the use of federal forfeiture funds and/or to prohibit the use of federal
             forfeiture funds to investigate a current or former President or presidential candidate.

         You are uniquely situated to provide information that is relevant and necessary to inform
the Committee’s oversight and potential legislative reforms. Your recent employment has largely
been focused on investigations surrounding President Trump.8 At the New York Attorney
General’s Office, you ran investigations into President Trump,9 leading “a wave of state
litigation against Trump administration policies.”10 You then moved to a high-level position in
the Biden Department of Justice, serving for a time as the Acting Associate Attorney General,
before District Attorney Bragg “beefed up [his] office” by hiring you to fill the void left by the
departure of disgruntled attorneys Mark Pomerantz and Carey Dunne.11 Pomerantz left the
Office—very publicly—because its investigation into President Trump was not proceeding fast
enough for his liking.12 His public resignation reportedly left District Attorney Bragg “deeply
stung,” and caused him to issue an “unusual” public statement “emphasizing that the
investigation into Trump and his business was far from over.”13 The circumstances and chain of
events that led to your hiring by the New York County District Attorney’s Office could therefore
shed substantial light on the underlying motives for that Office’s investigation into and
indictment of President Trump.

       Accordingly, to advance our oversight, please produce the following documents and
information in your personal possession for the period June 22, 2021, to December 5, 2022:

    1. All documents and communications between or among you and anyone affiliated, in any
       way, with the New York County District Attorney’s Office referring or relating to your
       potential or future employment with that Office, including, but not limited to,

             a. The substance or type of work that you would potentially do for that Office;

             b. That Office’s motivation for or interest in hiring you; or


7
  See Letter from Leslie B. Dubeck, Gen. Counsel, N.Y. Co. District Att’y Off., to Rep. Jim Jordan, H. Comm. on
the Judiciary 4 (Mar. 31, 2023) (“[O]f the federal forfeiture money that the Office helped collect, approximately
$5,000 was spent on expenses incurred relating to the investigation of Donald J. Trump or the Trump Organization.
These expenses were incurred between October 2019 and August 2021.”).
8
  See, e.g., Jacob Shamsian, Manhattan DA’s office hires attorney with extensive experience investigating Trump,
suing his administration, BUSINESS INSIDER (Dec. 5, 2022); Patricia Hurtado, Ex-DOJ Lawyer With Trump
Experience Joins Manhattan DA’s Team, BLOOMBERG (Dec. 5, 2022).
9
  Shamsian, supra note 8.
10
   Who’s who in the Manhattan DA’s Donald Trump indictment, THE ASSOCIATED PRESS (Mar. 31, 2023).
11
   Shamsian, supra note 8; see Erica Orden, Liberal Manhattan DA takes on Trump in perilous legal fight, POLITICO
(Dec. 5, 2022); Ben Protess et al., How the Manhattan DA’s investigation into President Donald Trump unraveled,
N.Y. TIMES (March 5, 2022).
12
   Read the Full Text of Mark Pomerantz’s Resignation Letter, N.Y. TIMES (Mar. 23, 2022).
13
   Mark Berman et al., The prosecutor, the ex-president and the ‘zombie’ case that came back to life, WASH. POST
(Mar. 17, 2023).
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           c. Your personal motivation for or interest in working for that Office.

   2. All documents and communications between or among you and anyone affiliated, in any
      way, with the New York County District Attorney’s Office referring or relating to
      President Donald J. Trump; the Trump Organization; or any other entity owned,
      controlled by, or associated with President Donald J. Trump.

   3. All documents and communications between or among you and anyone not affiliated
      with the New York County District Attorney’s Office referring or relating to both your
      potential or future employment with that Office and

           a.   President Donald J. Trump;

           b. The Trump Organization; or

           c. Any other entity owned, controlled by, or associated with President Donald J.
              Trump.

   4. Any other documents or communications referring or relating to both your potential or
      future employment with the New York County District Attorney’s Office and

           a. President Donald J. Trump;

           b. The Trump Organization; or

           c. Any other entity owned, controlled by, or associated with President Donald J.
              Trump.

        In addition, your testimony is necessary to advance our oversight and to inform potential
legislative reforms. We therefore ask that you testify in a transcribed interview about these
matters as soon as possible. Please provide this information and contact Committee staff to
schedule your transcribed interview as soon as possible but not later than 10:00 a.m. on April 21,
2023.

        Further, this letter serves as a formal request to preserve all existing and future records
and materials relating to the topics addressed in this letter. You should construe this preservation
notice as an instruction to take all reasonable steps to prevent the destruction or alteration,
whether intentionally or negligently, of all documents, communications, and other information,
including electronic information and metadata, that are or may be responsive to this
congressional inquiry. This instruction includes all electronic messages sent using your official
and personal accounts or devices, including records created using text messages, phone-based
message applications, or encryption software.
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       If you have any questions about this request, please contact Committee staff at (202) 225-
6906. Thank you for your prompt attention to this matter.

                                     Sincerely,



                                     Jim Jordan
                                     Chairman


cc:    The Honorable Jerrold Nadler, Ranking Member
